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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                           :
                                                   :
          v.                                       :       Criminal No. 21-cr-00092 (TNM)
                                                   :
COUY GRIFFIN,                                      :
                                                   :
                             Defendant.            :


           TO COMPEL PRODUCTION OF BRADY COMPILATION EVIDENCE

          On August 12, 2021, the defendant filed a motion to compel production of Brady1



                                       possess some information that the defense may view as

supportive of arguments that law enforcement authorized defendants . . . to enter the restricted
               2
                   the defendant requests the Court order the government to produce material that has



5.1(a), see Defense Motion at 3, or else face sanctions or dismissal of this case. For the reasons

cited below, and as may be further explained at any hearing on this matter, the Defense Motion is

unwarranted and should be denied.

                                        FACTUAL BACKGROUND

          Defendant, a county commissioner for Otero County, New Mexico, is charged via

information with violations of 18 U.S.C. §§ 1752(a)(1)(Entering and Remaining in a Restricted

Building) and (a)(2) (Disorderly and Disruptive Conduct in a Restricted Building). These


1
    Brady v. Maryland, 373 U.S. 83 (1963).
2
                                                         Time Under the Speedy Trial Act (ECF No. 44
at 12).
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charges arise from his conduct on January 6, 2021, when he is alleged to have participated as

part of a mob that breached the U.S. Capitol (t

the Capitol (a restricted area), where he remained for approximately one and one-half hours and

used a bullhorn to address other rioters.

       Defendant was arrested on January 19, 2021. Although he was initially detained

pending trial, he has been on pretrial release since February 5, 2021.

       As is relevant here, on August 9, 2021, the government filed a motion for a 60-day

continuance of the above-captioned proceeding, and further to exclude the time within which a

trial must commence un                                       CF No. 44). In the motion, the

government stated:

       For all the reasons described above, despite our diligent efforts, we are not
       currently in a position to identify all information that may be material to the
       defense in this case. We do not know the theory of defense, and to the extent that
       we can surmise what it might be, relevant evidence may be interspersed among
       voluminous data that we cannot possibly review in its entirety. Further, we are
       not in a position to turn over the universe of information we possess for
       Defendant to review. Although we are aware that we possess some information
       that the defense may view as supportive of arguments that law enforcement
       authorized defendants (including Defendant) to enter the restricted grounds,
       e.g., images of officers hugging or fist-bumping rioters, posing for photos
       with rioters, and moving bike racks, we are not in a position to state whether
       we have identified all such information. Pursuant to Brady and its progeny, we
       are required to make available the voluminous data that may contain any similar
       information for Defendant to review.

(ECF No. 44 at 12 (emphasis added)).

       On August 12, 2021, the defendant filed a motion to compel production of Brady

compilation evidence (ECF No. 48). Focusing on the information bolded above, the defendant

requested the Court order the government to produce any arguably exculpatory information it has




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see Defense Motion at 3, or else face sanctions or dismissal of this case.

                                          ARGUMENT

        As an initial matter, the Defense Motion wrongly assumes that the government has

compiled certain information that the defense may view as supportive of arguments that law

enforcement authorized defendants (including Defendant) to enter the restricted grounds but is

waiting to turn such information over to the defense until it has identified all information that

may be exculpatory. While it is correct that our discovery plan is to provide the defense with

voluminous materials so that they may identify evidence they believe is exculpatory, we are not

holding back arguably exculpatory materials we have already identified.

        To the contrary, as we have clearly articulated our previous Status Memoranda, our

overarching plan is to make document productions on a rolling basis, and we are prioritizing the

same materials to which we alluded in our August 9, 2021 STA Motion, i.e., investigations into

allegations of police misconduct. As stated in our August 23 Discovery Status Memorandum,

we expect to begin producing materials related to such investigations next week (the week

beginning September 5, 2021). Specifically, the defendant can expect to receive a production of



and a production of Metropolitan Police Department excessive force investigations shortly

thereafter.

        We have made good faith efforts to produce such materials as soon as reasonably

possible after learning of their existence, consistent with Local Criminal Rule 5.1(a). Such good

faith efforts included engaging in processes that were necessary to avoid production of

unorganized data dumps and unreadable files and to protect private information that will be

shared with hundreds of defendants. For example, after we received a production of OPR

                                                 3
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investigation files from the USCP, we had to review them, organize relevant reports and exhibits,

load such materials to Relativity, and proce                               appropriate redactions.3

As elaborated in our August 23 Discovery Status Memorandum, these processes are not wholly

automated and require both technical expertise and manual assistance, but they are being

performed as expeditiously as possible and (as

are nearly complete.

                                         CONCLUSION

       For the reasons described above, and any others that may be offered at a hearing on this

matter, the government requests                                       tion to compel production of

Brady compilation evidence. The government is making good faith efforts to provide the

arguably exculpatory materials it has identifi                         motion is wholly

unwarranted.

                                                 Respectfully submitted,

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                                                 DC Bar No. 415793

                                       By:         /s/ Emily A. Miller
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3
 Investigations into allegations of misconduct are always highly sensitive matters, and even
more so here, given the high-profile nature of this investigation, the number of defendants who
would be receiving these reports, and the nature of the allegations (the vast majority of which
were not sustained).

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